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                                UNITED STATES MAGISTRATE COURT
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                                NORTHERN DISTRICT OF CALIFORNIA
12
                                        SAN FRANCISCO DIVISION
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14                                     )                  No.     CR 3-05-70262 JL
                                       )
15   UNITED STATES OF AMERICA,         )                  STIPULATION CONTINUING DATE OF
                                       )                  PRELIMINARY HEARING OR
16         Plaintiff,                  )                  ARRAIGNMENT AND EXCLUDING
                                       )                  TIME UNDER THE SPEEDY TRIAL ACT
17      v.                             )                  CALCULATION (18 U.S.C. §
                                       )                  3161(h)(8)(A)) AND [PROPOSED]
18   ZIBU GAO et al (BRANDY DOUGLASS), )                  ORDER
                                       )
19         Defendant.                  )
                                       )
20                                     )
21      On June 3, 2005, the parties in this case appeared before the Court and Ms. Douglass waived
22   her right to a preliminary hearing or arraignment within twenty days of her initial appearance.
23   Based on Ms. Douglass’ waiver, the parties scheduled the next appearance in this matter for June
24   30, 2005 at 9:30 a.m. before Judge James for a preliminary hearing or arraignment.
25      The parties request this continuance on the grounds that: (1) the United States has not yet
26   provided all relevant discovery related to Ms. Douglass; (2) Once discovery is provided to
27   counsel for Ms. Douglass, he will require adequate time to review this discovery and further
28   discuss it with Ms. Douglass; (3) the United States and counsel for Ms. Douglass are exchanging


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1    information that may have an impact Ms. Douglass’s disposition; and (4) counsel for Ms.
2    Douglass believes that postponing the preliminary hearing is in Ms. Douglass’ best interest, and
3    that it is not in his client’s interest for the United States to indict the case before the June 30,
4    2005 preliminary hearing date. The parties agree that the requested continuance is necessary for
5    continuity of defense counsel and effective preparation of defense counsel.
6        The parties stipulate and agree that the above-stated reasons constitute good cause to support
7    a continuance under Rule 5.1 of the Federal Rules of Criminal Procedure and 18 U.S.C. § 3060.
8    The parties also stipulate and agree that the stated reasons support a continuance of the
9    preliminary hearing or arraignment date under Title 18, United States Code, Sections 3161(b)
10   and 3161(h)(8)(B)(iv) and that the failure to grant the requested continuance would deny the
11   defendant continuity of counsel and deny counsel for the defense the reasonable time necessary
12   for effective preparation, taking into account the exercise of due diligence.
13   IT IS SO STIPULATED.
14
15   DATED: 6/20/05                                           /S/ Denee A. DiLuigi
                                                             DENEE A. DILUIGI
16                                                           Special Assistant United States Attorney
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18   DATED: 6/28/05                                           /S/ Geoff Rotwein
                                                             GEOFF ROTWEIN
19                                                           Attorney for Ms. Douglass
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21                                                 ORDER
22       For the foregoing reasons, the Court finds that good cause is shown and concludes that the
23   continuance is proper under Rule 5.1 of the Federal Rules of Criminal Procedure and 18 U.S.C. §
24   3060.
25       The Court FURTHER ORDERS that an exclusion of time between June 3, 2005 and June
26   30, 2005, is warranted under the Speedy Trial Act because a failure to grant the continuance
27   would deny the defendant continuity of counsel and would unreasonably deny defense counsel
28   and the reasonable time necessary for effective preparation, taking into account the exercise of


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1    due diligence. 18 U.S.C. § 3161(h)(8)(B)(iv). The Court finds that the ends of justice served by
2    excluding time under the Speedy Trial Act outweigh the best interest of the public and the
3    defendant in a speedy trial and in the prompt disposition of criminal cases. Id. § 3161(h)(A).
4    The Court, therefore, concludes that this exclusion of time is proper pursuant to 18 U.S.C. §
5    3161(h)(8)(B)(iv).
6       The defendant is HEREBY ORDERED to appear before this Court on June 30, 2005 at 9:30
7    a.m.
8    IT IS SO ORDERED.
9
        7/6/05
10   DATED: 6/29/05                                                     /s/
                                                          NANDOR VADAS
11                                                        United States Magistrate Judge
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